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Attorneys for Defendant
JESSE MINOAKA KANESHIRO

                   IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                 CR. NO. 16-00516-01 SOM
              Plaintiff,                  FIFTH STIPULATION AND ORDER
                                          CONTINUING SENTENCING HEARING
        Vs.

JESSE MINOAKA KANESHIRO (01),             Old Date: August 20, 2018
                                          New Date: November 13, 2018
                                          Judge: Hon. Susan Oki Mollway
              Defendant.


     FIFTH STIPULATION AND ORDER CONTINUING SENTENCING HEARING

      IT IS HEREBY STIPULATED AND AGREED by and between the

parties that the Sentencing Hearing presently scheduled for

August 20, 2018 at 3:00 p.m., be continued to November 13, 2018

at 2:15 p.m. before the Honorable Susan Oki Mollway.

      The reason for the continuance is that the parties are

still attempting to ascertain information that could affect the

length of defendant's sentence.       Defendant will also be

testifying at trial in USA vs. Robles-Ramos et al, case number

1:18-cr-00043-LEK.
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      Based on the foregoing, the court finds that a continuation

of the Defendant's Sentencing Hearing is in the best interest of

justice.   The Court has informed the parties that they should

plan to proceed to sentencing on the new date.


      DATED: Honolulu, Hawaii    August 10, 2018.


                                         KENJI PRICE
                                         United States Attorney
                                         District of Hawaii


                                 By      Isl Mark Inciong
                                         MARK INCIONG, ESQ.
                                         Assistant U.S. Attorney



                                         Isl Richard D. Gronna
                                         RICHARD D. GRONNA, ESQ.
                                         Attorney for Defendant
                                         JESSE MINOAKA KANESHIRO

APPROVED AND SO ORDERED:    /~a~~~~,
DATED: Honolulu, Hawaii      ~ 1 o[v;ii 5f




USA vs. JESSE MINOAKA KANESHIRO; Cr. No. 16-00516-01 SOM
Fifth Stipulation and Order Continuing Sentencing Hearing

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